(`an O"l 7-¢\/-60'-'>’2’2-'||:|\/| Dnr‘llmpnt 76-’2 l:ntprprl nn l:l QD Dnr‘l<pt 06/76/70'|2 Dagp 1 nf 1

From: Bonds, James

To: Soia|fa, Sean; Beaoh, Brian; l\/lase, Kevin
CC: Rojas, Luis

Sent: 9/24/2015 5:17:04 Pl\/|

Subject: Patterson is now on PW

Jackie, l\/lark, and Lucretia all have seen the letter and are taking action_

Luis, | Wi|l get the letter to you soon. When you get it, please FeclEx it to him.

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Captain Jim Boncls

Chief Pilot - l\/llA
James.Boncls@AA.com

305-526-1282 Office | 786-473-1968 Cell

(CDT) Central Daylight Time AA-Patterson-0000581

